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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                  VICINAGE OF TRENTON

 CHRISTINE CONFORTI, ARATI KREIBICH,              )
 MICO LUCIDE, JOSEPH MARCHICA, KEVIN
 MCMILLAN, ZINOVIA SPEZAKIS, and                  )   HON. FREDA L. WOLFSON, U.S.D.J.
 NEW JERSEY WORKING FAMILIES
 ALLIANCE, INC.,                                  )   Civil Action No. 20-08267 (FLW-TJB)

               Plaintiffs,                        )

                       v.                         )            Civil Action

 CHRISTINE GIORDANO HANLON, in her                )
 Official capacity as Monmouth County
 Clerk, SCOTT M. COLABELLA, in his official       )
 capacity as Ocean County Clerk, PAULA                    CERTIFICATION OF
 SOLLAMI COVELLO, in her official capacity        )       GEORGE N. COHEN
 as Mercer County Clerk, JOHN S. HOGAN, in
 his Official capacity as Bergen County Clerk,    )
 EDWARD P. MCGETTIGAN, in his official
 capacity as Atlantic County Clerk, and E. JUNIOR )
  MALDONADO, in his official capacity as
 Hudson County Clerk,                             )

               Defendants.                        )
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                GEORGE N. COHEN, of full age, hereby certifies:

        1.      I am a Deputy Attorney General in the Division of Law, Department of Law and

 Public Safety, State of New Jersey. As such, I am familiar with the facts in this matter.

        2.      On July 6, 2020, Plaintiff Christine Conforti filed a Complaint against three County

 Clerks, alleging that New Jersey statutes created an unconstitutional infringement upon the voting

 rights and associational rights of voters by permitting candidates to associate with one another on

 the primary election ballot by “bracketing” together and the ballot placement of bracketed

 candidates. Initial Complaint, ECF No.1 ¶¶7-8.

        3.      On January 25, 2021, Plaintiffs filed their First Amended Complaint, with

 additional Plaintiffs and additional County Clerk Defendants. The First Amended Complaint

 withdrew allegations of violation of the New Jersey Civil Rights Act and added allegations

 asserting violation of the Elections Clause of the Federal Constitution and violation of 42 U.S.C.

 §1983 as a stand-alone count. First Amended Complaint, ECR No. 33 ¶¶220-21, 224-25.

        4.      On February 1, 2021, the Court issued an Order stating that on January 26, 2021,

 Plaintiffs filed notice of a constitutional question and that pursuant to Fed. R. Civ. P. 5.1(b), the

 Court “must, under 28 U.S.C. §2403, certify to the appropriate attorney general that a statute has

 been questioned.” ECF No. 39. The Order certified to the New Jersey Attorney General “that a

 constitutional question has been raised in this action….” Id. The Order states that the New Jersey

 Attorney General has until March 27, 2021 to intervene in this action. Id.

        5.      On February 17, 2021, on behalf of the New Jersey Attorney General, I filed a letter

 with the Court confirming that the State of New Jersey “will be participating in this matter in

 defense of the challenged statutes.” ECF No. 46.
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        6.      In order to defend the challenged statutes, the State of New Jersey is required to

 participate in this matter. To do so, the State files this certification in support of its motion to

 intervene.

        7.      On March 22, 2021, I sent a request by electronic mail to all counsel for their

 consent to the State of New Jersey’s motion to intervene in the above-captioned matter. I have

 received the consent of counsel for Plaintiffs and counsel for all Defendants to the State of New

 Jersey’s motion to intervene.

        8.      I certify that the foregoing statements made by me are true. I am aware that if any

 of the statements made by me are willfully false, I am subject to punishment.



                                        By:    s/George N. Cohen
                                               George N. Cohen

 Dated: March 29, 2021
